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                           UNITED STATES DISTRICT COURT
  10
                         CENTRAL DISTRICT OF CALIFORNIA
  11
  12
       Antonio Fernandez,                        Case No. 2:19-cv-01077-GW-KS
  13
                  Plaintiff,                     FIRST AMENDED COMPLAINT
  14                                             for Injunctive Relief and Damages
  15      v.                                     for Violation of:
  16   County of Los Angeles; and Does           1. Title II of the American’s With
       1-10, Inclusive,                             Disabilities Act, 42 U.S.C.
  17                                                §12131 et seq.; and
  18
                  Defendants.                    2. California’s Disabled Persons
                                                    Act, Cal. Civ. Code § 54 et seq.
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  25           Plaintiff Antonio Fernandez (“Plaintiff”) complains of Defendants
  26   County of Los Angeles (“County”) and Does 1-10, Inclusive (“Defendants”)
  27   and alleges as follows:
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   1                                 INTRODUCTION
   2         1.     Plaintiff Antonio Fernandez, an individual with physical
   3   disabilities who uses a wheelchair for mobility, brings the instant action
   4   alleging that Defendant County of Los Angeles and Does 1-10, inclusive, have
   5   discriminated against him on the basis of his disability in violation of federal
   6   and state anti-discrimination statutes.
   7         2.     Specifically, Plaintiff alleges that Defendants have failed and/or
   8   refused to properly construct, alter, and/or maintain the public facilities at the
   9   Peck Road Water Conservation Park (“Park”), such that the facilities are
  10   inaccessible to, and unusable by him as a person with physical disabilities.
  11         3.     As a result of Defendants’ failure to ensure the accessibility of
  12   the public facilities at the Park, Plaintiff has been, and will continue to be,
  13   denied full and equal access to Defendants’ programs, services, and activities,
  14   all to his damage.
  15         4.     Through this lawsuit, Plaintiff seeks an injunction requiring
  16   Defendants to provide him “full and equal” access to the public facilities at
  17   the Park as required by law. Plaintiff also seeks damages and reasonable
  18   attorneys’ fees, costs, and litigation expenses for enforcing his civil rights.
  19
  20                                      PARTIES
  21         5.     Plaintiff Antonio Fernandez is, and at all times relevant herein
  22   was, an individual and resident of the State of California.
  23         6.     Defendant County of Los Angeles is, and at all times relevant
  24   herein was, a political subdivision of the State of California.
  25         7.     Plaintiff is currently unaware of the true identities of DOES 1-
  26   10, inclusive, and will seek leave to amend his Complaint when their true
  27   names, capacities, connections, and responsibilities are ascertained.
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   1          8.     Plaintiff is informed and believes that each of the Defendants is
   2   the agent, ostensible agent, alter ego, master, servant, trustor, trustee,
   3   employer, employee, representative, franchiser, franchisee, lessor, lessee,
   4   joint venturer, parent, subsidiary, affiliate, related entity, partner, and/or
   5   associate, or such similar capacity, of each of the other Defendants, and was
   6   at all times acting and performing, or failing to act or perform, within the
   7   course and scope of such similar aforementioned capacities, and with the
   8   authorization, consent, permission or ratification of each of the other
   9   Defendants, and is personally responsible in some manner for the acts and
  10   omissions of the other Defendants in proximately causing the violations and
  11   damages complained of herein, and have participated, directed, and have
  12   ostensibly and/or directly approved or ratified each of the acts or omissions of
  13   each of the other Defendants, as herein described.
  14
  15                             JURISDICTION & VENUE
  16          9.     This Court has subject matter jurisdiction over this action
  17   pursuant to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the
  18   ADA.
  19          10.    Pursuant to pendant jurisdiction, attendant and related causes of
  20   action, arising from the same transactions and nucleus of operative fact are
  21   brought under California’s Unruh Civil Rights Act (“Unruh Act”) and
  22   Disabled Persons Act (“CDPA”), both of which expressly incorporate the
  23   ADA. Cal. Civ. Code §§ 51(f), 54(c) and 54.1(d).
  24          11.    Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and
  25   is founded on the fact that the real property which is the subject of this action
  26   is located in this district and that Plaintiff's cause of action arose in this district.
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   1                            FACTUAL ALLEGATIONS
   2         12.    Peck Road Water Conservation Park (hereinafter “the Park”) is a
   3   five-acre public park located at 5401 N. Peck Road in the City of Arcadia.
   4         13.    The Park offers amenities including barbecues; hiking trails;
   5   horseshoe pits; lakes; mountain biking trails; picnic tables; and mountain
   6   biking and cycling.
   7         14.    The Park and its related public facilities are owned, operated,
   8   and/or maintained by Defendant County of Los Angeles.
   9         15.    Plaintiff is an individual with physical impairments resulting
  10   from a bone infection that substantially limit his mobility.
  11         16.    Plaintiff is unable to stand or walk due and uses a wheelchair for
  12   mobility.
  13         17.    In order for Plaintiff to have equal access to and use of the public
  14   facilities at the Park, those facilities must be configured to accommodate
  15   wheelchair users.
  16         18.    Plaintiff      enjoys          fishing,    observing         wildlife,
  17   picnicking/barbequing and spending time outdoors.
  18         19.    On occasions including June 1, 2018 and October 16, 2018,
  19   Plaintiff visited the Park to fish, observe wildlife, picnic and relax.
  20         20.    During his visits to the Park, including the visits on June 1, 2018
  21   and October 16, 2018, Plaintiff personally encountered barriers that prevented
  22   him from having full and equal access to the Park, that caused him difficulty,
  23   discomfort, frustration and embarrassment, and that have deterred him from
  24   visiting the Park on other occasions. These barriers are detailed below.
  25         21.    There is no water-adjacent landing or accessible path of travel
  26   leading to the edge of the water in any location, accordingly, it is impossible
  27   for people with disabilities who use wheelchairs like Plaintiff to get close to
  28   the water to fish and observe wildlife like other patrons. The soft ground and


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   1   steep grades preclude a wheelchair user like Plaintiff from getting anywhere
   2   near the water.
   3         22.    There      are    an    insufficient       number   of    accessible
   4   picnicking/barbequing areas. Specific problems include:
   5                     a. There are approximately 6 picnic tables near the parking
   6                        area which seat 48 people. Five-percent of the spaces must
   7                        be accessible and dispersed thru-out the area; this would
   8                        translate to 3 accessible tables dispersed in this area.
   9                        Unfortunately, there is only one picnic table in this area
  10                        that is on an accessible path of travel.
  11                     b. There are a number of other picnic tables dispersed thru-
  12                        out the Park. There are four picnic areas along the northern
  13                        paved path of travel. Three are located on concrete and one
  14                        is located on decomposed granite. The latter picnic area is
  15                        not well maintained and is therefore neither firm nor
  16                        stable. Additionally, there is a non-compliant height
  17                        differential – exceeding 1/2” - between the main concrete
  18                        walkway and the decomposed granite leading to the table.
  19                     c. Three of the trash cans are not located along the path of
  20                        travel at each of these 4 areas.
  21                     d. Two of the barbecues are not located on an accessible path
  22                        of travel and do not have a clear floor space in front.
  23                     e. On the southern side there are 2 more picnic tables and
  24                        neither are on an accessible path of travel. The main
  25                        walkway is gravel which is not firm or stable. One picnic
  26                        table is located on a concrete pad but there is no accessible
  27                        path of travel leading to it. The other picnic table is on
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   1                        decomposed granite which has weeds and is neither longer
   2                        firm nor stable.
   3                    f. To the north of the northern paved path of travel are 2 more
   4                        picnic tables. While both are located on a concrete pad, the
   5                        path of travel connecting to them is dirt and neither firm
   6                        nor stable.
   7          23.    The paths of travel around the Park are largely inaccessible:
   8                    a. The path of travel from the parking on the north is paved.
   9                        However, at one point where it turns south on the western
  10                        portion it turns to gravel and is not accessible.
  11                    b. There is another non-paved walkway further to the north
  12                        which consists of dirt and is neither firm nor stable.
  13          24.    On June 13, 2019, Plaintiff’s expert conducted a site inspection
  14   of the facilities at the Park. In the expert’s June 30, 2019 report, the above-
  15   listed barriers were confirmed. Plaintiff’s expert also identified the following
  16   barriers in that report:
  17                    a. The informational signage regarding wildlife that is posted
  18                        off of the gravel path on the south side of the Park does
  19                        not comply with standards in terms of contrast, location or
  20                        height above the ground. Nor has the signage been
  21                        maintained, rendering it ineligible.
  22                    b. Striping for the designated accessible parking space on the
  23                        east side of the Park is missing the border at the head; blue
  24                        diagonals on black asphalt do not contrast;
  25                    c. The transition from asphalt to concrete between the
  26                        designated accessible parking space and walkway on the
  27                        east side of the Park is not maintained. Weeds are growing;
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   1                       there is a larger than 1/2” opening; there is a greater than
   2                       1/4” vertical.
   3                    d. The two drinking fountains on the east side of the Park do
   4                       not have sufficient water pressure to ensure a 4” minimum
   5                       water flow height.
   6          25.   On information and belief, the above-listed barriers still exist at
   7   the Park.
   8          26.   Due to the above-listed barriers, Plaintiff was and is unable to
   9   fish, observe wildlife, picnic, barbeque or enjoy the public facilities at the Park
  10   like patrons without disabilities. This, in turn, has caused Plaintiff difficulty,
  11   distress, embarrassment, and frustration.
  12          27.   Plaintiff plans to return to the Park to fish, picnic, and relax but
  13   is prevented and deterred from doing so due to the above-mentioned barriers
  14   which are ongoing and continuous.
  15          28.   On information and belief, the facilities at the Park have
  16   undergone construction and/or alteration since January 1, 1982, triggering
  17   applicability of California accessibility standards, California Code of
  18   Regulations, Title 24. Plaintiff is informed and believes, and on that basis
  19   alleges that Defendants have failed to comply with these standards.
  20          29.   On information and belief, the facilities at the Park have
  21   undergone construction and/or alterations since January 26, 1992 triggering
  22   applicability of ADA Standards for Accessible Design (ADA Standards), 28
  23   C.F.R. pt. 36, app. D. Plaintiff is informed and believes, and on that basis
  24   alleges that Defendants have failed to comply with these standards.
  25          30.   Plaintiff plans to visit the Park in the future and would like to do
  26   so independently, without encountering the above-described accessibility
  27   barriers.
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   1           31.   Until the barriers to accessibility that exist at the Park are
   2   removed and Defendants’ unlawful and discriminatory policies and practices
   3   regarding the alteration and/or maintenance of the public facilities at the Park
   4   are modified, Plaintiff will continue to be denied full and equal access to and
   5   use of the Park and will suffer ongoing discrimination and damages as a result.
   6           32.   The nature of Defendants’ discrimination constitutes a
   7   continuing violation, and unless enjoined by this Court, will result in ongoing
   8   and irreparable injury to Plaintiff.
   9           33.   Plaintiff has no adequate remedy at law because monetary
  10   damages, which may compensate for past unlawful conduct will not afford
  11   adequate relief for the harm caused by the continuation of the wrongful
  12   conduct of Defendants and the denial of his civil rights as herein alleged.
  13   Accordingly, Plaintiff is entitled to injunctive relief.
  14
  15                             GOVERNMENT CLAIM
  16        (With regard to claims for damages under California State Law)
  17           34.   Plaintiff timely filed a claim pursuant to § 910 et seq. of the
  18   California Government Code with the County on or about November 12,
  19   2018.
  20           35.   Plaintiff’s government claim was rejected by the County on
  21   December 28, 2018.
  22
  23                           FIRST CAUSE OF ACTION
  24                  Title II of the Americans with Disabilities Act
  25                              42 U.S.C. § 12131 et seq.
  26           36.   Plaintiff re-pleads and incorporates by reference the allegations
  27   contained in each of the foregoing paragraphs.
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   1         37.    Title II of the Americans with Disabilities Act (“ADA”) provides
   2   in pertinent part: “[N]o qualified individual with a disability shall, by reason
   3   of such disability, be excluded from participation in or be denied the benefits
   4   of the services, programs, or activities of a public entity, or be subjected to
   5   discrimination by any such entity.” 42 U.S.C. § 12132.
   6         38.    Plaintiff is, and at all times relevant herein was, a person with a
   7   “disability” within the meaning of the ADA. 42 U.S.C. § 12102.
   8         39.    Defendants are public entities as defined by the laws of the State
   9   of California and have fifty (50) or more employees.
  10         40.    Defendants are, and at all times relevant herein were, public
  11   entities within the meaning of Title II of the ADA. 42 U.S.C. § 12131(1).
  12         41.    The Park is a program, service, and/or activity of the Defendants.
  13         42.    Plaintiff is, and at all times relevant herein was, a “qualified
  14   individual with a disability” within the meaning of Title II of the ADA. 42
  15   U.S.C. § 12131(2). As a member of the public, Plaintiff meets the essential
  16   eligibility requirements for the use of the public facilities of the Park.
  17         43.    Defendants’ acts and omissions as herein alleged have excluded
  18   and/or denied Plaintiff the benefit and use of the public facilities at the Park,
  19   in violation of Title II and its implementing regulations. The Defendants’
  20   discriminatory conduct includes, inter alia:
  21                    a. Failing to operate the Park’s public facilities so that they
  22                       are “readily accessible to and usable by individuals with
  23                       disabilities” (28 C.F.R. § 35.150(a));
  24                    b. Failing to design, construct, and/or alter the public
  25                       facilities at the Park in a manner such that they are readily
  26                       accessible to and usable by individuals with disabilities,
  27                       when the construction/alteration was commenced after
  28                       January 26, 1992 (28 C.F.R. § 35.151);


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   1                    c. Denying Plaintiff the opportunity to participate in or
   2                       benefit from the aids, benefits, or services offered by
   3                       Defendants to members of the public, on the basis of his
   4                       disabilities (28 C.F.R. § 35.130(b)(1)(i));
   5                    d. Affording Plaintiff an opportunity to participate in or
   6                       benefit from the aids, benefits, or services offered by
   7                       Defendants to members of the public that is not equal to
   8                       that afforded his non-disabled peers (28 C.F.R. §
   9                       35.130(b)(1)(ii));
  10                    e. Otherwise limiting Plaintiff in the enjoyment of any right,
  11                       privilege, advantage, or opportunity enjoyed by others
  12                       receiving the aids, benefits, or services offered by
  13                       Defendants to members of the public (28 C.F.R. §
  14                       35.130(b)(1)(vii));
  15                    f. Utilizing methods of administration that have the effect of
  16                       subjecting Plaintiff to discrimination on the basis of his
  17                       disability (28 C.F.R. § 35.130(b)(3)(i)); and
  18                    g. Failing to make reasonable modifications in policies,
  19                       practices, or procedures where necessary to avoid
  20                       discrimination against Plaintiff on the basis of his
  21                       disability (28 C.F.R. § 35.130(b)(7)).
  22         44.    Under Title II of the ADA Defendants were required to conduct
  23   a self-evaluation of its services, policies, and practices, and the effects thereof,
  24   by no later than January 26, 1993. 28 C.F.R. § 35.105(a). On information and
  25   belief, as of the date of the filing of this Complaint, Defendants have failed to
  26   conduct a self-evaluation of its policies and facilities at the Park.
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   1         45.       Under Title II of the ADA Defendants were required to develop
   2   a transition plan setting forth the steps necessary to complete the structural
   3   changes necessary to achieve program accessibility of the programs at the
   4   Park within six months of January 26, 1992. 28 C.F.R. § 35.150(d)(1). On
   5   information and belief, as of the date of the filing of this Complaint,
   6   Defendants have failed to develop a transition plan setting forth the steps
   7   necessary to complete the structural changes necessary to achieve program
   8   accessibility of the Park.
   9         46.       Under Title II of the ADA Defendants were required to remove
  10   physical barriers that limit or deny people with disabilities access to its
  11   programs, services and activities by no later than January 26, 1995. 28 C.F.R.
  12   § 35.150(c). On information and belief, Defendants have failed, since the
  13   ADA was enacted and every year thereafter, to take appropriate measures to
  14   remove barriers to the public facilities at the Park.
  15         47.       Defendants’ duties under Title II of the ADA pertaining to the
  16   accessibility of the Park are mandatory and long-established. Defendants had
  17   knowledge of their duties at all times relevant herein; their failure to carry out
  18   said duties as alleged herein was a willful and knowing decision and choice,
  19   and/or the product of deliberate indifference.
  20         48.       Defendants were provided actual notice of the barriers at the
  21   Park; the impact those barriers have on Plaintiff; and their duty to remove such
  22   barriers under Title II of the ADA. Despite this knowledge, Defendants failed
  23   and refused to take any steps to remove the barriers or otherwise address
  24   Plaintiff’s concerns. Defendants’ failures in this regard constitute deliberate
  25   indifference.
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   1         49.    Defendants’ duties under Title II are mandatory and long-
   2   established. Defendants are deemed to have had knowledge of their duties at
   3   all times relevant herein; their failure to carry out said duties as alleged herein
   4   was willful and knowing and/or the product of deliberate indifference.
   5         50.    Pursuant to 42 U.S.C. §§ 12133 and 12205, Plaintiff prays for
   6   judgment as set forth below.
   7
   8                          SECOND CAUSE OF ACTION
   9                          California Disabled Persons Act
  10                             California Civil Code § 54
  11                   (Statutory damages and attorneys’ fees only)
  12         51.    Plaintiff re-pleads and incorporates by reference the allegations
  13   contained in each of the foregoing paragraphs.
  14         52.    The Disabled Persons Act (“CDPA”) provides that “[i]ndividuals
  15   with disabilities or medical conditions have the same right as the general
  16   public to the full and free use of the streets, highways, sidewalks, walkways,
  17   public buildings, medical facilities, including hospitals, clinics, and
  18   physicians’ offices, public facilities, and other public places.” Cal. Civ. Code
  19   § 54(a).
  20         53.    The CDPA also provides that “[i]ndividuals with disabilities
  21   shall be entitled to full and equal access, as other members of the general
  22   public, to accommodations, advantages, facilities, … and privileges of all …
  23   places of public accommodation, amusement, or resort, and other places to
  24   which the general public is invited.”
  25         3.     A violation of the ADA constitutes a violation of the CDPA. Cal.
  26   Civ. Code §§ 54(c) and 54.1(d).
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   1         4.       Defendants’ acts and omissions, described herein, violate the
   2   rights of Plaintiff under the CDPA. Among other things, Defendants failed to
   3   ensure that those of its public facilities constructed or altered after December
   4   1981 conformed to the standards contained in California Code of Regulations,
   5   Title 24.
   6         5.       Defendants have also violated the CDPA by violating the ADA.
   7         6.       Defendants’ duties under the CDPA are mandatory and long-
   8   established. Defendants are deemed to have had knowledge of their duties at
   9   all times relevant herein; their failure to carry out said duties as alleged, was
  10   willful and knowing and/or the product of deliberate indifference.
  11         7.       Pursuant to the remedies, procedures, and rights set forth in Cal.
  12   Civ. Code § 54.3(a), Plaintiff prays for statutory damages and attorneys’ fees
  13   under Cal. Civ. Code § 54.3(a).
  14
  15                                       PRAYER
  16   WHEREFORE, Plaintiff respectfully requests that this Court:
  17      1. Issue an injunction pursuant to the ADA and the Unruh Act ordering
  18         Defendants to:
  19               a. Take the steps necessary to bring the public facilities at the Park
  20                  into compliance with applicable federal and state accessibility
  21                  standards and make them fully and equally available to
  22                  individuals with mobility disabilities; and
  23               b. Modify their policies to ensure compliance with new
  24                  construction and alteration standards and program accessibility
  25                  obligations at the Park moving forward.
  26         Note: Plaintiff is not invoking section 55 of the California Civil Code
  27         and is not seeking injunctive relief under the Disabled Persons Act.
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   1      2. Award Plaintiff general, compensatory, and statutory damages in an
   2         amount within the jurisdiction of this court;
   3      3. Award Plaintiff attorneys’ fees, litigation expenses, and costs of suit, as
   4         provided by law; and
   5      4. Award such other and further relief as the Court deems just and proper.
   6
   7
   8   Dated: July 15, 2019             CENTER FOR DISABILITY ACCES
   9
  10                                    By:    /s/ Elliott Montgomery
  11                                           Elliott Montgomery, Esq.
                                               Attorneys for Plaintiff
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